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                        UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF MICHIGAN
                             SOUTHERN DIVISION


UNITED STATES OF AMERICA,

                     Plaintiff,
      v.                                       CR. NO. 06-20063

                                               Hon. Lawrence P. Zatkoff
D-1 PATERNO M. DOREZA
D-2 MANUELA R. DOREZA,

                     Defendants.
                                          /


             ORDER ADJOURNING MOTION CUT-OFF DATE

      THIS MATTER, having come before the Court on the stipulation of the parties:

      IT IS HEREBY ORDERED that the motion cut-off date is extended from May

4, 2006 to June 6, 2006.

      The Court finds that, based upon the reasons stated in the stipulation, the ends

of justice are served by granting this adjournment and therefore the time from May

4, 2006 to June 6, 2006, constitutes excludable delay under the Speedy Trial Act.

18 U.S.C. 3161(h)(1)(I) and (h)(8)(B)(iv).

SO ORDERED:


                                          s/Lawrence P. Zatkoff
                                          LAWRENCE P. ZATKOFF
                                          UNITED STATES DISTRICT JUDGE

Dated: May 4, 2006

                                  CERTIFICATE OF SERVICE
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       The undersigned certifies that a copy of this Order was served upon the attorneys of
record by electronic or U.S. mail on May 4, 2006.


                                            s/Marie E. Verlinde
                                            Case Manager
                                            (810) 984-3290
